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                           UNITED STATES DISTRICT COURT
 8
                          EASTERN DISTRICT OF CALIFORNIA
 9
10   WAL-MART STORES, INC., et al.,           1:04-CV-05278 OWW DLB

11         Plaintiffs,                        ORDER RE: DEFENDANTS’ MOTION
                                              FOR ATTORNEY’S FEES (Doc.
12                   v.                       224)

13   CITY OF TURLOCK, et al.,

14         Defendants.

15
16
                                 I.    INTRODUCTION
17
          Prevailing Defendants, the City of Turlock and the Turlock
18
     City Council (collectively, “the City” or “Turlock”), move for an
19
     award of attorney’s fees under 42 U.S.C. § 1988.        Plaintiffs,
20
     Wal-Mart Stores, Inc. and Wal-Mart Real Estate Business Trust
21
     (collectively, “Wal-Mart”), oppose the motion.
22
23
                                 II.    BACKGROUND
24
          The factual background of this case has been discussed at
25
     length in several previous decisions.       For the purposes of this
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     motion, only a brief summary of facts, most of which where
27
     undisputed throughout the litigation, is necessary.
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 1        Wal-Mart alleged that its representatives originally began
 2   negotiations with the City in December 2002 to establish a Wal-
 3   Mart Supercenter in Turlock; that these negotiations appeared
 4   likely to succeed as late as July 2003, when Wal-Mart purchased
 5   the real property for the prospective Supercenter; and that, at
 6   about that time, local grocery store owners learned of Wal-Mart’s
 7   plans, and began lobbying the Council to exclude Wal-Mart from
 8   Turlock in order to protect themselves from Wal-Mart’s
 9   competition.
10        On December 16, 2003, and January 13, 2004, the Turlock City
11   Council adopted Ordinance Nos. 1015-CS and 1016 (the
12   “Ordinance”).   The Ordinance amended the City’s Zoning Code and
13   Northwest Triangle Specific Plan, and was codified in Sections 9-
14   1-202 and 9-3-302 of the Turlock Municipal Code.        The Ordinance
15   created three new categories of commercial retail land uses:
16   “Discount Stores,” “Discount Clubs,” and “Discount Superstores.”
17   “Discount Stores” are:
18             stores with off-street parking that usually offer a
               variety of customer services, centralized cashing, and
19             a wide range of products. [“Discount Stores”] usually
               maintain long store hours seven (7) days a week. The
20             stores are often the only ones on the site, but they
               can also be found in mutual operation with a related or
21             unrelated garden center or service station. Discount
               stores are also sometimes found as separate parcels
22             within a retail complex with their own dedicated
               parking.
23
          A “Discount Club” is:
24
               a discount store or warehouse where shoppers pay a
25             membership fee in order to take advantage of discounted
               prices on a wide variety of items such as food,
26             clothing, tires, and appliances; many items are sold in
               large quantities or bulk.
27
28

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 1        A “Discount Superstore” is:
 2              a store that is similar to a “Discount Store” . . .
                with the exception that [it] also contain[s] a full-
 3              service grocery department under the same roof that
                shares entrances and exits with the discount store
 4              area. Such retail stores exceed 100,000 square feet of
                gross floor area and devote at least five percent (5%)
 5              of the total sales floor area to the sale of non-
                taxable merchandise....These stores usually offer a
 6              variety of customer services, centralized cashing, and
                a wide range of products. They typically maintain long
 7              store hours seven (7) days a week. The stores are
                often the only ones on the site, but they can also be
 8              found in mutual operation with a related or unrelated
                garden center or service station. Discount superstores
 9              are also sometimes found as separate parcels within a
                retail complex with their own dedicated parking.
10
          In Turlock, discount stores and discount clubs are permitted
11
     conditional uses in the C-C, C-H, and C-T commercial zones.
12
     Discount superstores are not permitted uses, conditional or
13
     otherwise, in any City zone.     The Ordinance prohibits Plaintiffs
14
     from siting a Wal-Mart Supercenter (a “Discount Superstore”) in
15
     Turlock.
16
          The Ordinance’s Preamble makes the following findings:
17
          •     WHEREAS, the [City] General Plan (including, but not
18              limited to, policies 2.4-a, 2.4-g, 2.4-h, 2.4-j, 2.4-k)
                establishes locational requirements for the [regional
19              and neighborhood] retail centers: encouraging a number
                of neighborhood centers equally dispersed throughout
20              the [C]ity while encouraging a concentration of
                regional shopping centers along the Highway
21              99/Countryside Drive corridor; and
22        •     WHEREAS, General Plan policies promote and encourage
                vital neighborhood commercial districts that are evenly
23              distributed throughout the city so that residents are
                able to meet their basic daily shopping needs at
24              neighborhood shopping centers; and
                                     ***
25        •     WHEREAS, given the changes in the retail sector and the
                evolution toward ever-bigger stores, it is necessary
26              that the zoning ordinance be amended to regulate larger
                retail establishments appropriately and to afford them
27              adequate review; and
28

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 1        •    WHEREAS, the [City] zoning ordinance (Title 9 of the
               [City] Municipal Code) has not kept pace with the
 2             evolution of the retail sector and fails to adequately
               distinguish the size, scale and scope of various retail
 3             activities;
                                    ***
 4        •    WHEREAS, the establishment of discount superstores in
               Turlock is likely to negatively impact the vitality and
 5             economic viability of the [C]ity’s neighborhood
               commercial centers by drawing sales away from
 6             traditional supermarkets located in these centers; and
 7        •    WHEREAS, industry and academic studies indicate
               discount superstores rarely add any retail services
 8             currently not provided within a community, and that the
               majority of sales growth at a discount supercenter
 9             comes from a direct shift of dollars from existing
               retailers within a community, primarily from grocery
10             stores; and
11        •    WHEREAS, discount superstores compete directly with
               existing grocery stores that anchor neighborhood-
12             serving commercial centers; and
13        •    WHEREAS, smaller stores within a neighborhood center
               rely upon the foot traffic generated by the grocery
14             store for their existence and in neighborhood centers
               where the grocery store closes, vacancy rates typically
15             increase and deterioration takes place in the remaining
               center; and
16
          •    WHEREAS, discount superstores adversely affect the
17             viability of small-scale, pedestrian-friendly
               neighborhood commercial areas, contributing to the
18             blight in these areas; and
                                    ***
19        •    WHEREAS, the [Ordinance’s proposed zoning changes] are
               intended to preserve the [C]ity’s existing
20             neighborhood-serving shopping centers that are
               centrally located within the community ...; and
21
          •    WHEREAS, the [C]ity’s current distribution of
22             neighborhood shopping centers provides convenient
               shopping and employment in close proximity to most
23             residential neighborhoods in Turlock, consistent with
               the Turlock General Plan; and
24
          •    WHEREAS, this distribution of shopping and employment
25             creates a land-use pattern that reduces the need for
               vehicle trips and encourages walking and biking for
26             shopping, services, and employment.
27        On January 26, 2005, Doucet & Associates, Inc., an
28   engineering firm, filed with the City on Wal-Mart’s behalf a

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 1   document entitled “an application for entitlements for a Wal-Mart
 2   Supercenter proposed for development in Turlock.”        On April 15,
 3   2005, Wal-Mart filed with the City a revised application.         By
 4   letter dated May 9, 2005, City Planning Manager Michael I. Cooke
 5   rejected the revised application because the operation of a
 6   Discount Superstore is barred by the Ordinance.
 7        On February 11, 2004, Wal-Mart filed this lawsuit in federal
 8   court alleging that City’s expressions of concern for air
 9   quality, traffic flows, and urban blight are pretextual, and that
10   the City’s true motive is to protect local retailers from
11   competition in violation of the Commerce Clause and Equal
12   Protection Clauses of both the United States and California
13   Constitutions.   Wal-Mart also argued the Ordinance is void for
14   vagueness under the United States Constitution’s Due Process
15   Clauses.1
16
17        1
               Wal-Mart also filed an action in state court against
18   the City, Case No. F047372. In a decision issued April 5, 2006,
     the California Court of Appeals for the Fifth Appellate District
19   upheld the Ordinance, rejecting Wal-Mart’s challenges that the
     City unconstitutionally exceeded its police powers and failed to
20   comply with the California Environmental Quality Act:
21               (1) a city may exercise its police power to control and
22               organize development within its boundaries as a means
                 of serving the general welfare, (2) [the] City made a
23               legitimate policy choice when it decided to organize
                 development using neighborhood shopping centers
24               dispersed throughout the city, (3) the [O]rdinance was
                 reasonably related to protecting that development
25               choice, and (4) no showing was made that the
26               restrictions significantly affected residents of
                 surrounding communities. Accordingly, the restrictions
27               in the ordinance bear a reasonable relationship to the
                 general welfare and, thus, [the] City constitutionally
28               exercised its police power.

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 1        The City did not file any challenges to the pleadings.              In

 2   late November 2004, Wal-Mart filed a motion to compel Save Mart

 3   Supermarkets, a non-party, to produce certain discovery

 4   concerning the Commerce Clause claims.       (Doc. 12.)   Magistrate

 5   Judge Dennis L. Beck granted the motion and ordered Save Mart to

 6   provide information and documents concerning communications

 7   between Save Mart, the City, and other third parties relating to

 8   the Ordinance.    (Doc. 30 at 6; Doc. 80 at 5.)      Save Mart moved

 9   for reconsideration.    (Doc. 25, filed Feb. 25, 2005.)       The

10   request for reconsideration was denied by the district court on

11   June 1, 2005.    (Doc. 80.)   Among other things, the district court

12   reasoned:

13               Save Mart’s contention that the Ordinance in no way
                 implicates the Commerce Clause is mistaken. As the
14               magistrate judge noted, state legislation may
                 constitute economic protectionism on the basis of
15               discriminatory purpose or effect. See Baccus Imps., 468
                 U.S. at 270. Save Mart has not shown that Wal-Mart’s
16               claim that the Ordinance is discriminatory in effect is
                 frivolous or meritless.
17
     (Doc. 80 at 27 (emphasis added).)2
18
          On March 29, 2005, the City moved for summary judgment.
19
     (Doc. 50.)   The City supplemented its motion on October 11, 2005.
20
21
22   Wal-Mart v. City of Turlock, 138 Cal. App. 4th 273, 279 (2006).
          2
23             The district court’s conclusion that Save Mart had not
     shown Wal-Mart’s claim to be frivolous or meritless applies
24   exclusively to the Commerce Clause claim. Wal-Mart’s suggestion
     that the district court’s decision on the motion for
25   reconsideration applies to the other claims in the case is
26   misplaced. Although the district court did acknowledge that the
     requested discovery might be relevant to the other claims in the
27   case and briefly summarized the nature of those claims, the
     district court did not further discuss the other claims. (See
28   Doc. 80 at 5.)

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 1   (Doc. 152.)   Wal-Mart filed opposition on November 2, 2005 (Doc.

 2   155) and the city replied on December 12, 2005 (Doc. 190).         Oral

 3   argument on the motion was heard February 6, 2006 (Doc. 203), at

 4   which time the court granted the parties leave to file

 5   supplemental briefs concerning the issues of ripeness and

 6   exhaustion of administrative remedies in connection with the

 7   equal protection claim.    (Doc. 204. at 1.)     Wal-Mart filed a

 8   supplemental brief on February 21, 2006 (Doc. 204), and the City

 9   filed a supplement on February 27, 2006 (Doc. 207).3        On July 3,

10   2006, the district court granted the City’s motion for summary

11   judgment in its entirety.     (Doc. 219.)

12        On August 23, 2006, the City filed the instant motion for

13   attorneys fees (Doc. 224), along with supporting declarations.

14   (Docs. 226, 227 & 231.)    Wal-Mart opposed.     (Doc. 229, filed on

15   Sept. 29, 2006.)   The City replied.     (Doc. 230, filed Oct. 6,

16   2006.)

17
18                               III.   ANALYSIS

19        A.   Legal Framework.

20        42 U.S.C. § 1988(b) provides, in relevant part, that “[i]n

21   any action or proceeding to enforce...[42 U.S.C. §] 1983...the

22   court, in its discretion, may allow the prevailing party...a

23   reasonable attorney’s fee as part of the costs.”        A prevailing

24
25        3
               Wal-Mart attaches too much importance to the fact that
26   the district court granted the parties leave to file supplemental
     briefs. Wal-Mart suggests that this is somehow indicative of the
27   merit of their claims. (Doc. 229 at 6-7.) It is not. It is
     simply indicative of the district court’s attempt to fairly
28   administer justice in an adversarial system.

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 1   defendant in a § 1983 action is entitled to an attorneys fee

 2   award under § 1988 only if the plaintiff’s claims were

 3   “frivolous, unreasonable, or without foundation.”        Hughes v.

 4   Rowe, 449 U.S. 5, 14 (1980)(citing Christiansburg Garment Co v.

 5   EEOC, 434 U.S. 412, 421 (1978)).

 6        Because Congress intended to promote vigorous enforcement of

 7   civil rights laws, “a district court must exercise caution in

 8   awarding fees to a prevailing defendant in order to avoid

 9   discouraging legitimate suits that may not be ‘airtight.’”           See

10   EEOC v. Bruno’s Restaurant, 13 F.3d 285, 287 (9th Cir. 1993)

11   (quoting Christiansburg, 434 U.S. at 422).       The Supreme Court

12   warned in Christiansburg against the “temptation to engage in

13   post hoc reasoning by concluding that, because a plaintiff did

14   not ultimately prevail, his action must have been unreasonable or

15   without foundation.”    Bruno's Restaurant, 13 F.3d at 290 (quoting

16   Christiansburg, 434 U.S. at 421-22).      Accordingly, a prevailing

17   defendant is not entitled to attorney’s fees merely because the

18   defendant prevailed on the merits.      For example, a Title VII

19   complaint that makes out a prima facie showing of disparate

20   treatment but ultimately fails on the merits should not be deemed

21   “clearly frivolous.”    See Warren v. City of Carlsbad, 58 F.3d

22   439, 444 (9th Cir. 1995).

23        Courts should be cautious when considering an award to a

24   prevailing defendant where the lawsuit was initiated by a party

25   with limited financial resources or one who is appearing pro se.

26   See Miller v. Los Angeles County Bd. of Educ., 827 F.2d 617, 619

27   (9th Cir. 1987).   Courts have expressed more willingness,

28   however, to award attorneys fees against “corporate-type

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 1   plaintiffs who present meritless civil rights claims,” because

 2   “[s]aid group of plaintiffs is certainly well equipped to finance

 3   a civil rights suit.”       Goldrich, Kest & Stern v. City of San

 4   Fernando, 617 F. Supp. 557, 564 -565 (D.C. Cal.1985)

 5                For the Court, the chilling effects of an award of
                  attorney's fees to prevailing defendants as against a
 6                corporate-type plaintiff is de minimus. At the very
                  least, courts should not hesitate to award attorney's
 7                fees against corporate civil rights plaintiffs when the
                  Christiansburg standard has been met
 8
     Id.
 9
             Turlock cites several cases in support of its request for
10
     attorney’s fees.      First, the City places great emphasis on a
11
     First Circuit case, Raskiewicz v. Town of New Boston, 754 F.2d 38
12
     (1st Cir. 1985), asserting that Raskiewicz presents an “analogous
13
     factual pattern.”       (Doc. 230 at 2.)    But, Raskiewicz is less
14
     analogous than the City suggests.         In Raskiewicz, the plaintiff,
15
     a developer, alleged that the Town of New Boston had deprived him
16
     of his civil rights and violated the Sherman Act by refusing to
17
     grant him a permit to remove gravel from his property.            Id. at
18
     43. The district court granted defendants’ motions for summary
19
     judgment and for attorney’s fees.          Id.   The plaintiff appealed
20
     both rulings.
21
             The factual circumstances of Raskiewicz are complex, but,
22
     essentially, the developer alleged that the Town exhibited bias,
23
     bad faith, and malice in repeatedly refusing to approve his
24
     development plans.       The First Circuit began its review of the
25
     merits of the case by noting that “federal courts do not sit as a
26
     super zoning board or a zoning board of appeals.”           Id. at 44
27
     (citations omitted).       The Raskiewicz court relied upon a First
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 1   Circuit rule that generally “prohibit[s] ordinary land use

 2   disputes from being litigated under § 1983.”       Id. at 44.

 3   Raskiewicz argued that this rule should be ignored where “bias,

 4   bad faith, and other ‘opprobrious epithets of malice’” are

 5   alleged.   But the First Circuit rejected this argument, reasoning

 6   that such allegations of bias and bad faith are “commonplace in

 7   cases of this nature.”     Id. (citations omitted).

 8              If all that were required to secure federal
                jurisdiction were loose claims of conspiracy and
 9              corruption, virtually any case of this type could be
                brought into the federal court. Here, even
10              assuming-which is unclear-that Raskiewicz, in alleging
                bias and conspiracy, is implicitly alleging actual
11              corruption on the part of the Board and Redimix, and
                that sufficiently serious, supported, assertions of
12              this type could make out a due process claim under
                section 1983 (a matter we do not now decide), the
13              record falls far short of creating a genuine issue of
                material fact with respect to such a claim.
14
     Id.   The Raskiewicz court next examined the factual record and
15
     found “nothing that supports an inference of actual bias, let
16
     alone corruption,” in part because the Town Board “did in fact
17
     twice offer Raskiewicz a permit although it was not required by
18
     the ordinance to do so.”     Id. at 45.4   The First Circuit held
19
     that Raskiewicz's federal claims were “totally frivolous and
20
     unwarranted” and affirmed the award of attorneys' fees and costs
21
     to the defendants.
22
           Raskiewicz does not provide helpful guidance here.        First,
23
     the case analyzes and applies various lines of First Circuit
24
     authority that appear to have no direct parallels in the Ninth
25
     Circuit.   Second, the fact that the Raskiewicz court was
26
27
           4
             The Raskiewicz court reached a similar conclusion with
28   respect to plaintiff’s Sherman Act claims. 754 F.2d at 45.

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 1   unimpressed by the plaintiff’s allegations of bias only

 2   underscores the fact-specific nature of the Christiansburg

 3   inquiry.

 4        More helpful is Tutor-Saliba Corp. v. City of Hailey, 452

 5   F.3d 1055 (9th Cir. 2006).    In that case, the municipal defendant

 6   refused to allow plaintiff permission to land his private jet at

 7   the local airport because the jet violated the airport’s pre-

 8   existing weight restrictions.     Id. at 1058.    Plaintiff filed

 9   suit, alleging both constitutional and statutory grounds for

10   relief.    Id. at 1059.   The district court deemed all of

11   Plaintiff’s constitutional claims to be frivolous.        The district

12   court then granted defendants’ motion for fees in part as to the

13   fees incurred defending against the frivolous claims, but denied

14   the motion as to fees incurred defending against several non-

15   frivolous statutory claims.     Id..   The Ninth Circuit affirmed,

16   reasoning that Tutor’s constitutional claims were indeed

17   frivolous:

18              Although Tutor cites various cases which he contends
                demonstrate that his claims were not frivolous, as we
19              explain below, we conclude that the district court did
                not abuse its discretion when it found that Tutor
20              lacked a factual and legal basis for his constitutional
                claims at the outset of the litigation.
21
     Id. at 1061.   For each constitutional claim, the Ninth Circuit
22
     inquired whether the plaintiff had a “factual and legal basis for
23
     his constitutional claim[] at the outset of the litigation.”         For
24
     example, with respect to plaintiff’s procedural due process
25
     claim, the Ninth Circuit reasoned:
26
                To establish a violation of procedural due process a
27              plaintiff must demonstrate: (1) a deprivation of a
                constitutionally protected liberty or property
28              interest, and (2) a denial of adequate procedural

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 1             protections. Brewster v. Bd. of Educ. of Lynwood
               Unified Sch. Dist., 149 F.3d 971, 982 (9th Cir. 1998).
 2
               As noted above, Tutor was not deprived of a liberty or
 3             property interest because he was able to access his
               vacation home by use of another aircraft. Accordingly,
 4             the district court did not abuse its discretion when it
               found that Tutor knew that this claim was frivolous
 5             from the outset of the litigation.

 6   Id. at 1061 (emphasis added).     The Ninth Circuit’s reasoning with

 7   respect to the plaintiff’s equal protection claim was similar:

 8             It is clear that aircraft weight is not a suspect
               classification, and there is no fundamental right to
 9             land an aircraft at any particular airport. See Hager
               v. City of West Peoria, 84 F.3d 865, 872 (7th Cir.
10             1996) (“Access to real property does not rise to the
               level of a fundamental right such that its denial
11             merits heightened scrutiny.”). Therefore, rational
               basis review applies.
12
               Under rational basis review, the Equal Protection
13             Clause is satisfied if: (1) “there is a plausible
               policy reason for the classification,” (2) “the
14             legislative facts on which the classification is
               apparently based rationally may have been considered to
15             be true by the governmental decisionmaker,” and (3)
               “the relationship of the classification to its goal is
16             not so attenuated as to render the distinction
               arbitrary or irrational.” Nordlinger, 505 U.S. at 11
17             (citations omitted).

18             Tutor's arguments do not overcome the obvious rational
               basis for the weight limitation. Since the weight
19             restriction is closely related to the defendants'
               interest in preserving the condition of the runway, and
20             Tutor had no factual basis to support his contention
               that the defendants permitted other aircraft exceeding
21             the 95,000 pound maximum take-off weight to operate at
               the airport, the district court did not abuse its
22             discretion when it concluded that Tutor knew or should
               have known that this claim was frivolous.
23
     Id. at 1061-62 (emphasis added)(parallel citations omitted).         The
24
     same result was reached regarding Tutor’s Commerce Clause claim
25
               Tutor argued that defendants' ban on dual-wheel
26             aircraft with a maximum take-off weight in excess of
               95,000 pounds is an impermissible burden on interstate
27             commerce. To prove a Commerce Clause violation, Tutor
               had the burden of showing that defendants' restriction
28             has the effect of discriminating against out-of-state

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 1              interests as compared to instate interests, or was
                imposed with the primary purpose of regulating
 2              interstate commerce. Hughes v. Oklahoma, 441 U.S. 322,
                336 (1979). Tutor, however, merely asserted that he
 3              believed the ban was an impermissible burden on
                interstate commerce without offering any evidence to
 4              support the claim. Tutor offered no evidence indicating
                that the ban had anything more than an incidental
 5              effect on interstate commerce or that the weight
                restriction was imposed for an impermissible purpose,
 6              rather than the obvious purpose of promoting the safety
                of the airport by preventing deterioration of its
 7              runways. Accordingly, the district court did not abuse
                its discretion when it found that Tutor knew or should
 8              have known that this claim was frivolous from the
                outset of the litigation.
 9
     Id. at 1061-62 (emphasis added)(parallel citations omitted).
10
          Wal-Mart argues that Tutor-Saliba is distinguishable because
11
     here “the allegations underlying Wal-Mart’s constitutional
12
     challenges had extensive factual support” and “the legal theories
13
     underlying this action enjoyed extensive support in the case
14
     law.”   (Doc. 229 at 20.)   Whether Wal-Mart is correct in this
15
     assertion is discussed in detail below.      In general, however,
16
     Wal-Mart does not take issue with the general approach taken in
17
     Tutor-Saliba – that fees are warranted where the plaintiff “knew
18
     or should have known that [a] claim was frivolous from the outset
19
     of the litigation.”
20
          The City next cites Goldrich, Kest & Stern v. City of San
21
     Fernando, 617 F. Supp. 557 (D.C. Cal. 1985), which concerned a
22
     developer who alleged that the City of San Fernando violated his
23
     constitutional rights by failing to rezone property so as to
24
     allow the developer to subdivide his land.       The developer sued
25
     the City of San Fernando, alleging that the City’s conduct (1)
26
     constituted a taking; (2) exceeded the City’s police powers; and
27
     (3) violated plaintiff’s equal protection rights.        Ultimately,
28

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 1   the Goldrich court awarded attorney’s fees to the defendant

 2   because

 3              the defects of Developer's suit were of such magnitude
                that the plaintiff's ultimate failure was clearly
 4              apparent at some significant point in the proceedings.

 5   Id. at 565 (internal quotations and citations omitted).

 6        The plaintiff in Goldrich had filed a parallel lawsuit in

 7   state court, raising state procedural challenges to the City’s

 8   actions.   The state court ruled in favor of the defendants while

 9   the federal case was still in its early stages.       The Goldrich

10   court found this to be significant in its determination that a

11   fee award was justified.

12              The State Decision, based on identical facts and
                discovery, acts as a “significant point in the
13              proceedings.” By this date, Developer must have
                realized the ill-founded nature of its federal claims.
14              Evidence produced at trial proved unconvincing to a
                Superior Court judge, yet Developer continued on,
15              seeking to proffer the same proof to this Court.

16              On January 29, 1985 this Court dismissed Developer's
                second amended complaint; this action coincides with
17              the State Decision of January 14, 1984. At the hearing
                the Court alerted plaintiff of the perilous course that
18              [its suit] may be taking due to an increasingly
                apparent lack of support for its claims. This Court's
19              oversight now provides a point of reference for
                awarding fees. In sum, by January, 1984 it should have
20              been patently obvious to Developer that this action was
                meritless, grounded on baseless, unsubstantiated
21              allegations. This Court finds that the continued
                prosecution of the federal claims by Developer was
22              frivolous, unreasonable and without foundation.

23   Id. at 565 (internal quotations and citations omitted).

24        Wal-Mart asserts that Goldrich is not helpful to the City

25   because, at the outset of the Goldrich litigation, the district

26   court granted two motions to dismiss for failure to state a claim

27   and repeatedly warned the developer that his case had no merit.

28   (Doc. 229 at 21.)   Nothing in the record indicates that the

                                       14
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 1   district court issued similar warnings to Wal-Mart in this case.

 2   There is, in fact, evidence to the contrary with respect to Wal-

 3   Mart’s Commerce Clause claim.     The decision denying Save Mart’s

 4   motion for reconsideration states that “Save Mart has not shown

 5   that Wal-Mart’s claim that the Ordinance is discriminatory in

 6   effect is frivolous or meritless.”      (Doc. 80 at 27.)    This at

 7   least suggests that Wal-Mart’s Commerce Clause claim was not

 8   meritless from the outset.

 9        As discussed, the Goldrich court also emphasized that the

10   developer “had previously lost a state court action involving

11   identical claims.”   (Id.)     Wal-Mart also brought a parallel state

12   court action against the City, Wal-Mart Stores, Inc. v. City of

13   Turlock, 138 Cal. App. 4th 273, 299 (2006).       Although no federal

14   constitutional challenges were raised in that action, the state

15   court decision did address the question of whether, under the

16   California Constitution, the Ordinance exceeded the police power

17   of the city.   (Id. at 299.)    In analyzing that claim, the state

18   court found that the Ordinance was rationally related to a

19   legitimate public purpose, noting “that the administrative record

20   is replete with evidence of the city's concerns with traffic and

21   urban/suburban decay that might arise from the development of

22   discount superstores.”    Id. (internal citations and quotations

23   omitted).   The state court’s reasoning is relevant:

24               Wal-Mart does not argue that its Supercenters do not
                 have significant environmental effects, or even that
25               they do not produce the results City fears-to wit,
                 urban/suburban decay, increased traffic, and reduced
26               air quality. Instead, Wal-Mart argues the lack of a
                 rational relationship between those concerns and the
27               Ordinance is demonstrated by the fact that, while the
                 Ordinance bans superstores entirely, it permits the
28               development of alternative multitenant shopping centers

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 1             which, according to the evidence, have even greater
               negative environmental effects. The alternative
 2             developments to which Wal-Mart refers are those
               discussed in the TJKM report of November 20, 2003, all
 3             of which include a grocery supermarket of 60,000 square
               feet or more. It is clear from the record, however,
 4             that City decision makers did not ignore either the
               TJKM report, the statistics it presented, or the idea
 5             Wal-Mart sought to convey before enacting the
               Ordinance. Rather, they appear to have agreed with
 6             City's planning staff that “[w]hile any large-scale
               retail store can draw customers with low prices and a
 7             wide selection of goods, the big box grocers present a
               unique threat because of the inclusion of discount
 8             retail and full-service grocery under a single roof.”

 9             Further, it must be noted that City does have planning
               control, through the CUP process, over the prospective
10             development of discount stores, discount clubs, and
               supermarkets of 60,000 square feet or more. And City
11             has placed on record its view that the development of
               large grocery supermarkets in regional shopping centers
12             raises environmental concerns and is undesirable.
               Wal-Mart cites no authority to support the proposition
13             that a municipality must address all similar concerns
               related to the general welfare by the same means or in
14             the same way.

15   Id. at 301-302.   In addition, the state court rejected Wal-Mart’s

16   argument that “the Ordinance was enacted for the purpose of

17   targeting Wal-Mart.”    Id. at 302.

18             The Ordinance does not single out Wal-Mart but,
               instead, prohibits all discount superstores within
19             City's boundaries. The record demonstrates, to be sure,
               that Wal-Mart's prospective competitors, and some of
20             its detractors, did lobby City officials regarding
               enactment of the Ordinance. As City points out,
21             however, it is well-established that courts must
               “eschew inquiry into what motivated or influenced those
22             who voted on...legislation.” (Board of Supervisors v.
               Superior Court (1995) 32 Cal.App.4th 1616, 1623, 38
23             Cal.Rptr.2d 876.) “[T]he validity of legislative acts
               must be measured by the terms of the legislation
24             itself, and not by the motives of, or the influences
               upon, the legislators who enacted the measure.” ( City
25             and County of San Francisco v. Cooper (1975) 13 Cal.3d
               898, 913, 120 Cal.Rptr. 707, 534 P.2d 403; see also
26             Ensign Bickford Realty Corp. v. City Council, supra, 68
               Cal.App.3d at p. 478, 137 Cal.Rptr. 304.)
27
               Further, the simple fact that Wal-Mart was the first
28             company to feel the effect of the Ordinance is not

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 1               sufficient to establish that Wal-Mart was targeted in
                 any unconstitutional manner. If that fact were enough
 2               to require a finding that a local governmental entity
                 had exceeded its police power, then local government
 3               could never react to new situations brought to its
                 attention by a specific proposal without having that
 4               reaction invalidated under the claim that it “targeted”
                 the specific proposal. In short, local governments need
 5               the flexibility to react to specific proposals for a
                 new kind of development not previously contemplated
 6               where such a development will or may have harmful
                 consequences to the locality's legitimate planning
 7               objectives.

 8   Id. at 302.      Unlike in Goldrich, where the state court decision

 9   was issued early during the federal litigation, the state court

10   decision in Wal-Mart was issued on April 5, 2006, after oral

11   argument was heard on the motion for summary judgment in the

12   federal case.      Goldrich does not present a parallel factual

13   circumstance.

14        In sum, the Christiansburg inquiry is highly fact-specific,

15   and Tutor-Saliba provides some general guidance, standing for the

16   proposition that fees are warranted where the plaintiff “knew or

17   should have known that [a] claim was frivolous from the outset of

18   the litigation.”

19        B.     Application to the Claims in this Case.

20               1.     Wal-Mart’s Purported As-Applied Claim.

21        Initially, it was not clear whether Wal-Mart sought to bring

22   only a facial challenge to the ordinance, or whether the lawsuit

23   also included an as-applied challenge.      After the City moved for

24   summary judgment on only the facial challenge, Wal-Mart continued

25   to insist that the complaint also raised an as-applied challenge.

26   But, Wal-Mart’s purported as-applied claim could not withstand

27   scrutiny.    While the operative complaint was filed on February

28   11, 2004 (Doc. 1), the City did not deny Wal-Mart’s application

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 1   until May 9, 2005 (Doc. 191).     Accordingly, the district court

 2   ruled:

 3             The February 11, 2004, complaint could not have, and
               did not, allege the City violated Wal-Mart’s
 4             constitutional rights in applying the Ordinance to deny
               Wal-Mart’s Supercenter permit application, because the
 5             City did not apply the Ordinance to Wal-Mart’s
               Supercenter supplemented application until May 9, 2005.
 6             The complaint does not allege facts regarding the
               specific application of the Ordinance to Wal-Mart’s
 7             Supercenter permit application.

 8                                     ***

 9             The complaint solely presents a facial challenge to the
               Ordinance.
10
     (Summary Judgment (“SJ”) Decision at 14.)
11
          Alternatively, even if the complaint had asserted an as-
12
     applied challenge, the district court analyzed whether any such
13
     claim could be maintained.    This analysis was suggested by
14
     Defendants’ own memorandum in support of its motion for summary
15
     judgment, which preemptively attacked Wal-Mart’s ability to
16
     maintain an as-applied claim, arguing that any such claim would
17
     not be ripe for review, that the futility exception would not
18
     apply, and that the statute of limitations operated as a bar.
19
     (Doc. 51 at 21-24.)   The applicability of the futility exception
20
     and the statute of limitations issue were resolved in Wal-Mart’s
21
     favor.   The district court ruled that the facial challenge would
22
     have subsumed any as-applied claim because the Ordinance left the
23
     City no discretion to approve any Supercenter.
24
               Tahoe Sierra Preservation Council, Inc. v. Tahoe
25             Regional Planning Agency, 322 F.3d 1064 (9th Cir.
               2003), holds no as-applied challenge can be asserted
26             where a statute grants no discretion to the
               administering agency:
27
28

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 1                   As the district court recognized, this is
                     essentially a facial challenge to the inherently
 2                   unequal criteria for moving the IPES Line
                     contained in the 1987 Plan. The 1987 Plan
 3                   enshrined the differential triggering requirements
                     for the vacant lot equations of California and
 4                   Nevada; the Agency had no discretion to deviate
                     from the Plan’s provisions. In 1999, the Agency
 5                   did not apply equal terms unequally – it applied
                     inherently unequal terms in equal fashion. If the
 6                   Association thought the inequality unlawful, its
                     quarrel was with the terms of the 1987 Plan
 7                   itself.

 8             Tahoe Sierra, 322 F.3d at 1080 n.15; see also Levald,
               Inc. v. City of Palm Desert, 998 F.2d 680, 689 (9th
 9             Cir. 1993).

10   (SJ Decision at 27-28.)

11        Wal-Mart suggests that the as-applied claim should not be

12   considered frivolous because the district court devoted almost

13   16-pages to its discussion of the as-applied claim and related

14   issues.   (See SJ Decision at 16-28.)     Wal-Mart cites Hughes v.

15   Rowe, 449 U.S. 5, 15-16 (1980), which held that “[e]ven []

16   allegations that were properly dismissed for failure to state a

17   claim” were not meritless in the Christiansburg sense” where they

18   “deserved and received the careful consideration of both the

19   District Court and the Court of Appeals.”

20             Allegations that, upon careful examination, prove
               legally insufficient to require a trial are not, for
21             that reason alone, “groundless” or “without foundation”
               as required by Christiansburg.
22
     Hughes, 449 U.S. at 15-16.    This argument is persuasive.
23
     Although the district court ultimately found that no as-applied
24
     claim had been asserted, whether any such claim could be
25
     maintained was a debatable question that the district court
26
     discussed at length.    Hughes suggests that a fee award is not
27
     appropriate under such circumstances.
28

                                       19
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 1             2.    Constitutional Challenges.

 2        Wal-Mart alleged that the Ordinance is unconstitutional on

 3   three grounds: (1) it deprives Wal-Mart of the equal protection

 4   of the laws, in violation of the Fourteenth Amendment to the

 5   United States Constitution and Article I, Section 7, of the

 6   California Constitution; (2) it discriminates against interstate

 7   commerce, in violation of Article I, Section 8, Clause 3, of the

 8   United States Constitution (the “Commerce Clause”); and (3) it is

 9   unconstitutionally vague.

10                   a.   Equal Protection Challenges.

11                        (1)    Federal Equal Protection Challenges.

12        With respect to Wal-Mart’s federal equal protection

13   challenge, the district court first concluded that “[b]ecause the

14   Ordinance involves social and economic policy, and neither

15   targets a suspect class nor impinges on a fundamental right, it

16   is reviewed according to the ‘rational basis’ standard.”         (SJ

17   Decision at 29 (internal citations omitted).)

18             Under this test, statutes are generally presumed to be
               valid and will be sustained if the classification drawn
19             by the statute is rationally related to a legitimate
               state interest. Fields v. Legacy Health System, 413
20             F.3d 943, 955 (9th Cir. 2005). A legislative
               classification under rational basis review must be
21             wholly irrational to violate equal protection. Id.
               The challenger bears the burden of negating every
22             conceivable basis which might support the legislative
               classification, whether or not the basis has a
23             foundation in the record. Id. A legislative choice is
               not subject to courtroom fact-finding and may be based
24             on rational speculation unsupported by evidence or
               empirical data. Beach Communications, 508 U.S. at 315.
25
     (Id.)
26
          The City advanced a number of bases for the Ordinance, both
27
     in the Ordinance’s preamble and in subsequent declarations from
28

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 1   City planners.   Critically for the purposes of this motion, a

 2   number of independent studies were cited in the Ordinance’s

 3   legislative record, including:

 4             •      A study commissioned by the City of Oakland that
                      shows the traffic impact of a discount superstore
 5                    is greater than the traffic impact of a
                      supermarket, a discount club, or a discount store.
 6                    It also shows discount superstores cause blight
                      and an increase in air pollution.
 7
               •      A study by VRPA Technologies, Inc., that shows
 8                    Wal-Mart Supercenters generate 34.5% more vehicle
                      trips than had been previously estimated by the
 9                    Institute of Transportation Engineers.

10             •      A report for the City of Fremont that shows
                      discount superstores generate more vehicle trips
11                    than discount clubs.

12             •      A study by Strategic Economics that discusses the
                      store closures and negative effects on the City of
13                    Fremont’s business district the study stated would
                      be caused by a discount superstore opening in the
14                    City of Fremont.

15             •      A Contra Costa County study that shows discount
                      superstores are likely to cause blight and
16                    increased traffic.

17             •      A Mississippi State University study that
                      discusses the economic impacts of discount
18                    superstores on existing businesses.

19             •      An Oklahoma City report that describes the
                      relationship between urban blight and Wal-Mart
20                    Supercenters.

21             •      A Business Week article that discusses store
                      closures caused by Wal-Mart Supercenters.
22
     Wal-Mart should have known about these various bases for banning
23
     Supercenters advanced in these sources at the outset of this
24
     litigation.
25
          The district court deemed all of the interests protected by
26
     the Ordinance to be legitimate state interests, over Wal-Mart’s
27
     unfounded objections.    For example, Wal-Mart’s argued that the
28

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 1   prevention of urban blight is not a legitimate state interest

 2   (Doc. 155 at 18),5 despite a body of binding contrary authority.

 3   See Hispanic Taco Vendors of Washington v. City of Pasco, 994

 4   F.2d 676, 679 (9th Cir. 1993) (Commerce Clause); Burlington

 5   Northern R.R. Co. v. Department of Public Serv. Regulation, 763

 6   F.2d 1106, 1109 (9th Cir. 1985) (“[t]he standard for judging the

 7   constitutionality of a statute...which regulates economic

 8   activity, is the same under the...[E]qual [P]rotection or

 9   [C]ommerce [C]lauses”).

10        Wal-Mart also   questioned the distinctions drawn in the

11   Ordinance between discount superstores, which are prohibited, and

12   other retail formats.    Wal-Mart argued that this distinction

13   bears no rational relationship to any legitimate interest.         (Doc.

14   155 at 19-27.)    The City, in its memoranda in support of its

15   motion for summary judgment, pointed out that the legislative

16   history was filled with evidence that a discount superstore has

17   uniquely detrimental impacts on a community.

18
19
20        5
               Specifically, Wal-Mart argued:
21             The City’s explanation for the cause of blight or decay
22             is erroneous. The City has it backwards. “Blight” is
               not caused by new development; rather, blight results
23             from economic and community deficiencies which have
               resulted in a decline in employment, income, and
24             wealth. The resulting loss of consumer demand can
               result in failures of neighborhood businesses, which
25             may result in under-maintained or vacant buildings if
26             appropriate re-tenanting does not occur. In short,
               losses of community vitality, and not any commercial
27             “use,” cause blight.

28   (Doc. 155, 19.)

                                       22
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 1             [S]tudies in the legislative record showed [] Discount
               Superstores cause more traffic than Discount Stores,
 2             Discount Clubs, or supermarkets, and this provides a
               rational basis for prohibiting them. There was
 3             evidence in the record that people shop for groceries
               2-3 times a week – more often than they visit a
 4             Discount Store or a Discount Club. [citation] Although
               Discount Clubs sell groceries, because they sell in
 5             bulk, the number of customer trips is less. [citation]
               Although Supermarkets are similar to Discount
 6             Superstores in that they generate more trips per week
               than Discount Stores and Discount Clubs, they do not
 7             attract customers from as large a trade area as
               Discount Superstores, which because of their size and
 8             the synergy between their supermarket and discount
               store components draw customers from a larger area and
 9             therefore cause more vehicle miles to be driven.
               [citation] This increased traffic also causes more air
10             pollution. [citation]

11             The record also included evidence that competition from
               a Discount Superstore would threaten the viability of
12             existing neighborhood centers by causing the closure of
               the supermarkets that anchor those centers, thereby
13             causing blight. This also provides a rational basis
               for prohibiting Discount Superstores. [citations] With
14             regard to Turlock specifically, the City Council
               received information that one Discount Superstore
15             opening in Turlock would likely cause two or three
               supermarkets to close. [citation] This would mean two
16             or three neighborhood shopping centers would lose their
               anchors and those shopping centers would then likely
17             slip into decay.

18   (Doc. 51 at 26-27.)   Wal-Mart knew or should have been aware of

19   the bases that would be advanced by the City prior to filing its

20   lawsuit because the bases were articulated in the Preamble to the

21   ordinance.   Wal-Mart submitted evidence suggesting that the

22   evidence upon which the City relied was erroneous, but such

23   evidence is of no legal consequence:

24             It is well established a legislative choice is not
               subject to courtroom fact-finding on rational-basis
25             review, and may be based on rational speculation
               unsupported by evidence or empirical data. Judicial
26             review is at an end once the court identifies a
               plausible basis on which the legislature may have
27             relied. Rui One Corp., 371 F.3d at 1155; accord,
               SeaRiver Maritime Financial Holdings, Inc. v. Mineta,
28             309 F.3d 662, 680 (9th Cir. 2002); Jackson Water Works,

                                       23
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 1             Inc. v. Public Utilities Comm’n of State of Cal., 793
               F.2d 1090, 1094 (9th Cir. 1986) (“[a]ll that is needed
 2             to uphold the state’s classification scheme is to find
               that there are ‘plausible,’ ‘arguable,’ or
 3             ‘conceivable’ reasons which may have been the basis for
               the distinction”); Alamo Rent-A-Car, Inc. v. Sarasota-
 4             Manatee Airport Authority, 825 F.2d 367, 370 (11th Cir.
               1987) (“the federal courts do not sit as arbiters of
 5             the wisdom or utility” of economic legislation) (citing
               Minnesota v. Clover Leaf Creamery Co., 449 U.S. 456,
 6             469 (1981)).

 7   (SJ Decision at 33-34.)

 8        Wal-Mart placed greatest emphasis on its final allegation:

 9   that the ordinance violated equal protection because it was the

10   result of collusion between local economic interests (owners of

11   the neighborhood grocery stores and union representatives of

12   those who worked in them) and the Council, acting with the

13   improper legislative motive of protecting local merchants and

14   unions from Wal-Mart’s “foreign” competition.       (Doc. 155 at 17.)

15   The district court found that, even if true, such improper

16   motives did not require the invalidation of the Ordinance under

17   an equal protection analysis:

18             Even an improper motive, without more, does not affect
               constitutional review of legislation:
19
                     According to the Supreme Court, “it is entirely
20                   irrelevant for constitutional purposes whether the
                     conceived reason for the challenged distinction
21                   actually motivated the legislature.” Beach
                     Communications, 508 U.S. at 315. The First
22                   Circuit has specifically rejected a claim that an
                     environmental ordinance violated the Equal
23                   Protection Clause because its challengers alleged
                     that its passage was motivated by a desire to
24                   restrict a business’s power in dealing with
                     unions.
25
               Rui One Corp., 371 F.3d at 1155 (citing Int'l Paper Co.
26             v. Town of Jay, 928 F.2d 480, 485 (1st Cir. 1991)).

27             In International Paper, a paper company sued to
               invalidate and enjoin enforcement of a municipal
28             ordinance regulating emission of pollutants by
               industries and businesses, including plaintiff. Int’l
               Paper, 928 F.2d at 481-82. The company argued the
               ordinance unduly restricted its bargaining power in a

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 1             labor dispute with striking unions. Int’l Paper, 928
               F.2d at 482. The town’s board of selectmen, most of
 2             whom were striking union employees, authorized the
               drafting of the ordinance, and proposed it be put to a
 3             public referendum, and it passed. Id. After ruling
               the ordinance was a facially valid exercise of the
 4             town’s power to enact economic legislation, the court
               refused to “delve into the motivations of the Board
 5             members who proposed and drafted the [o]rdinance”:

 6                   [W]hile courts may look to legislators’ motives
                     where a suspect or quasi-suspect classification is
 7                   subjected to discrimination or a fundamental right
                     is infringed [citations], absent these
 8                   circumstances, we will not strike down an
                     otherwise constitutional statute on the basis of
 9                   an alleged illicit legislative motive.

10             Int’l Paper, 928 F.2d at 485.

11   (SJ Decision at 37-38.)

12        Although the district court rejected all of Wal-Mart’s

13   arguments, the critical question is whether the equal protection

14   claim had a legal or factual basis at the outset of the

15   litigation.   Wal-Mart cites a number of cases in support of its

16   assertion that “the equal protection claim was well-grounded in

17   fact and constitutional jurisprudence, including Romer v. Evans,

18   517 U.S. 620, 634 (1996).    In Romer, the Supreme Court applied a

19   version of the rational basis test to conclude that a Colorado

20   Constitutional amendment that prohibited all legislative,

21   executive, or judicial action designed to protect homosexual

22   persons from discrimination “lacks a rational relationship to

23   legitimate state interests,” id. at 632, in part because a

24   “desire to harm a politically unpopular group cannot constitute a

25   legitimate governmental interest.”     Id. at 634.    Wal-Mart

26   maintained that, under Romer, where a statute singles out a group

27   of persons because of a particular trait, an otherwise legitimate

28   state interest may be overcome if there is evidence of animus

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 1   toward that corporation.    Applying this principle to their own

 2   situation, Wal-Mart argued that, where there was evidence that

 3   the City singled out Wal-Mart because of its use of a particular

 4   retail format, the Supercenter, the City’s stated interests could

 5   be overcome.

 6        Although the district court did not adopt this application

 7   of the rational basis test, it cannot be said that the theory

 8   underlying its claim was totally without merit.       Prior to the

 9   filing of this lawsuit on February 11, 2004, Wal-Mart’s theory

10   had not been addressed, directly or indirectly, by any court of

11   appeals or the Supreme Court.     Moreover, whether the “higher-

12   order rational basis review,”6 utilized by the Supreme Court in

13   Romer, 517 U.S. 620 (applied to homosexuals), and City of

14   Cleburne v. Cleburne Living Center, 473 U.S. 432 (1985)(applied

15   to mentally retarded), is broadly applicable in other contexts is

16   far from clear.   See Powers v. Harris, 379 F.3d 1208, 1224 (10th

17   Cir. 2004)(discussing three competing interpretations of the

18   Cleburne/Romer approach).

19        By July 2006, at least one other district court from another

20   circuit had rejected a very similar argument in a case brought on

21   Wal-Mart’s behalf.   See Retail Industry Leaders Ass'n v. Fielder,

22   435 F. Supp. 2d 481, 501 (D. Md. 2006).      In Retail Industry

23   Leaders, an association (of which Wal-Mart was a member)

24   challenged a Maryland statute imposing a tax upon large, for-

25
26        6
               The Cleburne/Romer approach is sometimes referred to as
27   “rational basis with bite.” See Gayle Lynn Pettinga, Note,
     Rational Basis with Bite: Intermediate Scrutiny by Any Other
28   Name, 62 Ind. L.J. 779 (1987).

                                       26
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 1   profit employers that spend less than certain percentage of total

 2   wages paid to employees in the state on health insurance costs.

 3   It was anticipated that only Wal-Mart would be affected by the

 4   statute.   The association argued that the statute violated the

 5   Equal Protection Clause because it intentionally targeted Wal-

 6   Mart.   But, the district court rejected this argument, explaining

 7   that “antipathy” was only relevant in the equal protection

 8   context in cases involving “politically vulnerable groups”:

 9              Unless there is a reason to “infer antipathy” from the
                targeting of a particular group or person, “[t]he
10              Constitution presumes that...even improvident decisions
                will eventually be rectified by the democratic process
11              and that judicial intervention is generally unwarranted
                no matter how unwisely we may think a political branch
12              has acted.” Beach Commc'ns, 508 U.S. at 314, (quoting
                Vance v. Bradley, 440 U.S. 93, 97 (1979)). It is only
13              in cases involving politically vulnerable groups that
                the Supreme Court has appeared to rely, at least in
14              part, on legislative antipathy when invalidating a law
                under the rational basis test. See Romer v. Evans, 517
15              U.S. 620 (1996) (invalidating Colorado constitutional
                amendment that prohibited the state and local
16              governments from passing laws to protect persons from
                discrimination based on their sexual orientation); City
17              of Cleburne v. Cleburne Living Center, Inc., 473 U.S.
                432 (1985) (invalidating zoning ordinance that
18              authorized a denial of a special use permit for
                mentally retarded persons to live together in a group
19              home). Wal-Mart does not contend that it is similarly
                situated to the plaintiffs in Romer and Cleburne, and
20              the fact that it is the only entity subject to the
                spending requirement of the Fair Share Act is not
21              itself sufficient to make out a viable equal protection
                claim. See City of New Orleans v. Dukes, 427 U.S. 297,
22              306 (1976) (expressly overruling Morey v. Doud, 354
                U.S. 457 (1957)).
23
     Id. at 501.   This analysis is persuasive.     However, this case was
24
     decided after the filing of this lawsuit.      Moreover, it is non-
25
     binding authority.
26
          In sum, although the district court ultimately rejected Wal-
27
     Mart’s equal protection argument, Wal-Mart’s animus argument was
28

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 1   not totally without foundation at the outset of the litigation.

 2                   b.    California Equal Protection Claim

 3        Wal-Mart also invoked the Equal Protection Clause of Article

 4   I, Section 7, of the California Constitution, which is

 5   essentially interpreted as being equivalent to the federal equal

 6   protection clause.    See Manduley v. Superior Court, 27 Cal. 4th

 7   537, 572 (2002); Kasler v. Lockyer, 23 Cal.4th 472, 481-82

 8   (2000).   The district court rejected the California

 9   Constitutional equal protection claim for the same reasons it

10   rejected the federal equal protection claim, noting that all are

11   “equally enjoined from establishing a discount superstore in

12   Turlock.”   (SJ Decision at 40.)    Yet, for the same reasons that

13   the federal equal protection claim was not frivolous, neither was

14   the California equal protection claim.

15                   c.    Commerce Clause Claim.

16        Wal-Mart next contended that the Ordinance violated the

17   dormant Commerce Clause, which prohibits the states from enacting

18   laws which impede the flow of interstate commerce.        Edgar v. MITE

19   Corp., 457 U.S. 624, 640 (1982).        In fact, as discussed above,

20   discovery related to the Commerce Clause claim was the subject of

21   a motion to compel.   The district court, ruling on a non-party’s

22   motion for reconsideration of the magistrate’s ruling granting

23   Wal-Mart’s motion to compel, reasoned that the non-party had

24   failed to establish that Wal-Mart’s Commerce Clause claim was

25   meritless or frivolous.    (Doc. 80 at 27.)      Wal-Mart was entitled

26   to rely on this determination in pursuing its Commerce Clause

27   claim.

28        Moreover, although the district court eventually ruled in

                                        28
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 1   favor of defendants on the Commerce Clause issues, Wal-Mart’s

 2   claim was not totally unreasonable from the outset of the

 3   litigation.   Wal-Mart advanced a number of legal arguments that

 4   were not wholly baseless.    For example, in support of its

 5   argument that a statute may violate the Commerce Clause if it is

 6   the intent of the legislature to discriminate against interstate

 7   commerce, Wal-Mart cited Bacchus Imports, Ltd. v. Dias, 468 U.S.

 8   263 (1984), in which the Supreme Court stated:

 9              A finding that state legislation constitutes “economic
                protectionism” may be made on the basis of either
10              discriminatory purpose or discriminatory effect[.]

11   Id. at 270 (citations omitted).     The district court did not find

12   this language controlling, however, reasoning that “the Bacchus

13   Imports Court did not hold the statute was unconstitutional

14   solely because of its intended purpose.”      (SJ Decision at 46.)

15              Bacchus Imports cited Hunt for the proposition that a
                state statute may be invalidated based on its apparent
16              purpose. Bacchus Imports, 468 U.S. at 270. However,
                Hunt does not stand for the proposition that alleged
17              discriminatory purpose alone will invalidate a statute.
                See Hunt, 432 U.S. 333, 351 (1977) (“[a]s the
18              [d]istrict [c]ourt correctly found, the challenged
                statute has the practical effect of not only burdening
19              interstate sales of Washington apples, but also
                discriminating against them”) (emphasis added).
20
     (Id. at 46-47.)   The district court distinguished the cases cited
21
     by Wal-Mart and ultimately rejected Wal-Mart’s argument.         But to
22
     now find the argument to be frivolous would be to succumb to the
23
     “temptation to engage in post hoc reasoning by concluding that,
24
     because a plaintiff did not ultimately prevail, his action must
25
     have been unreasonable or without foundation.”       Bruno's
26
     Restaurant, 13 F.3d at 290 (quoting Christiansburg, 434 U.S. at
27
     421-22.)   Wal-Mart advanced other legal theories in support of
28

                                       29
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 1   its Commerce Clause claims that, although ultimately

 2   unsuccessful, cannot be deemed frivolous in hindsight,

 3   particularly in light of the fact that the district court

 4   previously indicted that Wal-Mart’s Commerce Clause claims were

 5   not frivolous.   Defendants are not entitled to recover attorney’s

 6   fees incurred defending against this claim.

 7                    d.     Vagueness

 8        Finally, Wal-Mart argued that the Ordinance is

 9   unconstitutionally vague and ambiguous.      (Doc. 155, at 48-50.)

10   This claim was rejected outright because “[v]agueness challenges

11   to statutes that do not involve First Amendment violations must

12   be examined as applied to defendant.”      United States v. Jae Gab

13   Kim, 449 F.3d 933, 941-42 (9th Cir. 2006)(citing Village of

14   Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489,

15   495 n.7 (1982)).      Because Wal-Mart had not asserted an as-applied

16   challenge to the Ordinance, the vagueness claim was meritless.

17   In the alternative, assuming, arguendo, that the complaint had

18   asserted an as-applied challenge, the district court found that

19   the vagueness challenge necessarily failed because the Ordinance

20   clearly prohibits Wal-Mart from establishing a Wal-Mart

21   Supercenter in Turlock.     (SJ Decision at 62.)

22        Wal-Mart suggests that it had a non-frivolous basis for

23   arguing that the Ordinance was unconstitutionally vague as to

24   what uses are permitted.     For example, Wal-Mart suggested that if

25   it “sought to build two stores next door to one another -- a

26   discount store and a grocery store -- where each store was less

27   than 100,000 square feet, the Ordinance would not provide a clear

28   ascertainable standard for Wal-Mart (or any other applicant) to

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 1   determine whether such a project would be permitted.”        (Doc. 229

 2   at 18.)    However, Wal-Mart never pled or presented any evidence

 3   that it filed any application, complete or otherwise, with

 4   Turlock regarding anything other than a Supercenter.        Therefore,

 5   there could never have been any as-applied vagueness claim based

 6   on the Ordinance’s failure to clearly delineate whether Wal-

 7   Mart’s hypothetical two-store plan would be permissible.

 8        The vagueness claim was frivolous from the outset of the

 9   litigation.    Defendants are entitled to reasonable attorney’s

10   fees incurred defending against the vagueness claim.

11
          C.     Reasonable Attorney’s Fees.
12
          “In determining what a reasonable attorney’s fee entails,
13
     the district court must apply the hybrid approach adopted in
14
     Hensley v. Eckerhart, 461 U.S. 424, 433 [] (1983).”        United
15
     States v. $12,248 U.S. Currency, 957 F.2d 1513, 1520 (9th Cir.
16
     1992).     “The most useful starting point for determining the
17
     amount of a reasonable fee is [1] the number of hours reasonably
18
     expended on the litigation [2] multiplied by a reasonable hourly
19
     rate.”    Sorenson v. Mink, 239 F.3d 1140, 1145 (9th Cir.
20
     2001)(relying upon Hensley, 461 U.S. at 433).       The resulting
21
     figure is known as the “Lodestar.”
22
          To determine what qualifies as reasonable attorney’s fees,
23
     the Ninth Circuit has adopted the twelve Lodestar Factors as
24
     “guidelines [and] as appropriate factors to be considered in the
25
     balancing process required in a determination of reasonable
26
     attorney’s fees:”
27
          (1)    the time and labor required,
28

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 1        (2)    the novelty and difficulty of the questions involved,

 2        (3)    the skill requisite to perform the legal service

 3               properly,

 4        (4)    the preclusion of other employment by the attorney due

 5               to acceptance of the case,

 6        (5)    the customary fee,

 7        (6)    whether the fee is fixed or contingent,

 8        (7)    time limitations imposed by the client or the

 9               circumstances,

10        (8)    the amount involved and the results obtained,

11        (9)    the experience, reputation, and ability of the

12               attorneys,

13        (10) the “undesirability” of the case,

14        (11) the nature and length of the professional relationship

15               with the client, and

16        (12) awards in similar cases.

17   Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 71 (9th Cir.

18   1975).

19               1.    Wal-Mart’s Objections

20        Wal-Mart only raises two objections to the amount of fees

21   requested.    First, Wal-mart argued that the City has failed to

22   provide evidentiary support for its request for $25,000 in fees

23   for bringing the instant motion.        In response to this objection,

24   the City filed further billing documentation along with its reply

25   brief.     (See Doc. 231, Jarvis Decl., Ex. B.)     These supplemental

26   billing records sufficiently document the City’s fees on fees

27   request.

28        Second, Wal-Mart notes that the City’s attorneys placed a

                                        32
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 1   cap on the amount of fees the City would need to pay in this

 2   case.    Wal-Mart objects to any fee award that exceeds the cap.

 3   Specifically, Wal-Mart argues:

 4                Wal-Mart has learned...that the City will not have to
                  pay $25,000 for bringing this motion. The City and its
 5                attorneys have a deal by which the City need only pay
                  “an agreed not-to-exceed figure, with the understanding
 6                that, if the motion is successful, [City’s] attorneys
                  may recover any amounts billed in excess of this not-
 7                to-exceed figure as part of the ultimate award of
                  fees.”... In other words, if the City wins the motion,
 8                Wal-mart pays $25,000, but if the City loses, it pays
                  its attorneys a lesser sum. Wal-Mart should not have
 9                to pay more than the City itself would have to pay if
                  the motion were denied. This, Wal-Mart’s liability, if
10                any, for fees incurred by the City in connection with
                  the motion should be capped to the currently
11                undisclosed ceiling figure and the City should
                  disclosed [sic] the cap in its reply.
12
13   (Doc. 229 at 24.)      Notably, Wal-Mart cites no legal authority to

14   support this argument.       In fact, the bulk of legal authority

15   suggests exactly the opposite.        It is well-settled that

16   prevailing parties may be awarded fees under § 1988 even if they

17   were represented free of charge by a nonprofit legal aid

18   organization.      Blum v. Stenson, 465 U.S. 886, 894-95 (1984).

19   This is because § 1988 makes the “party, rather than the lawyer,”

20   eligible for a discretionary award of attorney's fees.           Venegas

21   v. Mitchell, 495 U.S. 82, 87-88 (1990)(emphasis added).

22   //

23   //

24   //

25   //

26   //

27   //

28   //

                                          33
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 1              2.    The City’s Request.

 2        The City has endeavored to separate its request for fee

 3   reimbursement according to each claim as follows:

 4              Equal Protection Claim:     $71,456.90

 5              Commerce Clause Claim:      $108,844.07

 6              As Applied Claim:           $12,255.00

 7              Vagueness Claim:            $4,181.29

 8              Fees-on-Fees:               $20,937.50

 9              Total Request:              $217,674.76

10        As discussed above, the City is entitled to reimbursement

11   for expenses incurred defending against the vagueness claim only,

12   in the amount of $4,181.29.

13        Turlock also requests reimbursement for fees incurred

14   preparing its fee petition.     Turlock’s total fees-on-fees request

15   is $20,937.50.    Because Turlock is entitled to fees for only the

16   vagueness claim,7 a minor issue in this very complex case,

17   Turlock should only receive a small portion of its fees-on-fees

18   request.   Having reviewed all of the briefs and supporting

19   documents submitted by Turlock in support of its fee petition, it

20   is reasonable to award Turlock twenty percent (20%), one-fifth of

21   its fees-on-fees request, a percentage that roughly reflects (a)

22   the amount of time dedicated to argument on the frivolity of the

23   vagueness claim and (b) a portion of time spent presenting

24   general background information and law in the fee petition.

25
          7
26           The total amount of fees claimed for the Equal Protection
     claim ($71,456.90), the as-applied claim ($12,255.00), and the
27   vagueness claim ($4,181.29) is $196,737.96. The fee expenses
     incurred by Turlock ($4,181.29) on the vagueness claim amount to
28   2.13 percent of $196,737.96.

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 1            The court has also reviewed the Declaration of Benjamin Fay,

 2   filed in support of Defendants’ motion for attorney’s fees.

 3   (Doc. 227.)       His declaration explains that all legal services

 4   were provided by the law firm of Jarvis Fay & Deporto, LLP.           Work

 5   on this matter was provided primarily by Mr. Fay and his partner

 6   Rick Jarvis, each of whom have considerable litigation experience

 7   in similar matters.         (See Exhibits A & B to the Fay Decl.)     Mr.

 8   Fay and Mr. Jarvis each billed the City at the standard discount

 9   rate of $225 per hour for partners, while associates billed at

10   $175 per hour, and paralegals at $100 per hour.           These are

11   reasonable rates to bill a public entity.           Wal-Mart interposes no

12   objection to these hourly rates.

13            Also attached to the Fay Declaration is a detailed billing

14   spreadsheet, indicating the specific tasks performed for each

15   unit of time billed, and allocating portions of the hours billed

16   to each of the four claims in the case.            The bills are reasonably

17   detailed and do not indicate excessive or wasteful billing

18   practices.

19                                   IV.   CONCLUSION

20            For the reasons set forth above, Turlock is entitled to a

21   fee award for expenses incurred defending against the vagueness

22   claim ($4,181.29) and for twenty percent (20%) of its fees-on-

23   fees request ($4,187.50) for a total fee award of ($8,368.79).

24
25
26   IT IS SO ORDERED.

27   Dated:     March 12, 2007                  /s/ Oliver W. Wanger
     b2e55c                                UNITED STATES DISTRICT JUDGE
28

                                             35
